Case 2:05-cv-02525-BBD-dkv Document 4 Filed 08/25/05 Page 1 of 2 Page|D 8

 

UNITED STATES DISTRICT COURT F'*-f‘? <. .1 ~. .
WESTERN DISTRICT OF TENNESSEE 05 mg 25 PH 2 n

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WALTER MCGI'IEE, II JUDGM.ENT IN A CI'VIL CASE

vs

ANDREW PALMER CASE NO: 05-2525-D

 

DECISION BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND A.DJ'UDGED that in accordance with the Order Of
Di¢missa]. entered on August 16, 2005, this cause is hereby
dismissed.

 

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This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02525 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Walter McGhee
2810 Montague Avenue
Memphis7 TN 38114

Honorable Bernice Donald
US DISTRICT COURT

